828 F.2d 1080
    U.S. DEPARTMENT OF HEALTH &amp; HUMAN SERVICES, Petitioner,v.FEDERAL LABOR RELATIONS AUTHORITY, Respondent.American Federation of Government Employees, AFL-CIO, Local1923, Intervenor.
    No. 86-2619.
    United States Court of Appeals,Fourth Circuit.
    Sept. 23, 1987.
    
      1
      Prior report:  4th Cir., 822 F.2d 430.ORDER
    
    
      2
      The petitioner's petition for rehearing and suggestion for rehearing in banc were submitted this Court.  In a requested poll of the Court a majority of the judges voted to grant rehearing in banc.
    
    
      3
      Accordingly, IT IS ORDERED that rehearing in banc is granted.
    
    
      4
      IT IS FURTHER ORDERED that this case shall be calendared for oral argument at the December session of Court.  The parties shall submit six additional copies of their briefs and petitioner shall submit ten additional copies of the joint appendix.
    
    
      5
      Entered at the direction of Judge Murnaghan.
    
    